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                                                         U.S. Department of Justice

                                                         Andrew E. Lelling
                                                         United States Attorney
                                                         District of Massachusetts

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                                                         May 20, 2020

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          Re:       United States v. Mossimo Giannulli
                    Criminal No. 19-10080-NMG

Dear Messrs. Trach, Berkowitz and Vien:

        The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and
your client, Mossimo Giannulli (“Defendant”), agree as follows with respect to the above-
referenced case:

          1.        Change of Plea

        At the earliest practicable date, Defendant shall plead guilty to Count One of the above-
referenced Fourth Superseding Indictment: conspiracy to commit wire and mail fraud and honest
services wire and mail fraud. Defendant expressly and unequivocally admits that he committed
the crime charged in Count One of the Fourth Superseding Indictment, did so knowingly and
intentionally, and is in fact guilty of that offense. The U.S. Attorney agrees to dismiss Counts
Two and Three of the Fourth Superseding Indictment following the imposition of sentence at the
sentencing hearing.
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       The U.S. Attorney agrees that, based upon the information known to the U.S. Attorney’s
Office at this time, no further criminal charges will be brought against the Defendant in
connection with the conduct set forth in the Fourth Superseding Indictment.

       2.      Penalties

       Defendant faces the following maximum penalties on Count One of the Fourth
Superseding Indictment: incarceration for 20 years; supervised release for three years; a fine of
$250,000, or twice the gross gain or loss, whichever is greater; a mandatory special assessment
of $100; restitution; and forfeiture to the extent charged in the Fourth Superseding Indictment.

        Defendant also recognizes that pleading guilty may have consequences with respect to
Defendant’s immigration status if Defendant is not a citizen of the United States. Under federal
law, a broad range of crimes are removable offenses, including the offense to which Defendant is
pleading guilty. Removal and other immigration consequences are the subject of a separate
proceeding, however, and Defendant understands that no one, including defense counsel and the
District Court, can predict to a certainty the effect of this conviction on Defendant’s immigration
status. Defendant nevertheless affirms his decision to plead guilty regardless of any immigration
consequences that this plea may entail, even if the consequence is Defendant’s automatic
removal from the United States.

       3.      Fed. R. Crim. P. 11(c)(1)(C) Plea

        This Plea Agreement is made pursuant to Fed. R. Crim. P. 11(c)(1)(C), and Defendant’s
guilty plea will be tendered pursuant to that provision. In accordance with Rule 11(c)(1)(C), if
the District Court (“Court”) accepts this Plea Agreement, the Court must include the agreed
disposition in the judgment. If the Court rejects any aspect of this Plea Agreement, the U.S.
Attorney may deem the Plea Agreement null and void. Defendant understands and
acknowledges that he may not withdraw his plea of guilty unless the Court rejects this Plea
Agreement under Fed. R. Crim. P. 11(c)(5).

       4.      Sentencing Guidelines

        The U.S. Attorney agrees to take the following position at sentencing under the United
States Sentencing Guidelines (“USSG” or “Guidelines”), and that Defendant’s total adjusted
offense level under the Guidelines is calculated as follows:

               •   in accordance with USSG § 2B4.1, Defendant’s base offense level is eight,
                   because the offense of conviction includes conspiracy to commit honest
                   services mail and wire fraud;




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               •     in accordance with USSG §§ 2B4.1(b)(1)(B) and 2B1.1(b)(1)(G), Defendant’s
                     offense level is increased by 12, because the value of the bribe was more than
                     $250,000 but not more than $550,000 and;

               •     in accordance with USSG § 3E1.1, based on Defendant’s prompt acceptance
                     of personal responsibility for the offense of conviction in this case, the
                     adjusted offense level is reduced by three.

       Defendant agrees to take the following position at sentencing under the Guidelines, and
that Defendant’s total adjusted offense level under the Guidelines is calculated as follows:

               •     in accordance with USSG § 2B1.1, Defendant’s base offense level is seven,
                     because the offense of conviction is conspiracy to commit mail and wire
                     fraud;

               •     in accordance with USSG § 3E1.1, based on Defendant’s prompt acceptance
                     of personal responsibility for the offense of conviction in this case, the
                     adjusted offense level is reduced by two.

        The U.S. Attorney’s agreement that the disposition set forth below is appropriate in this
case is based, in part, on Defendant’s prompt acceptance of personal responsibility for the
offenses of conviction in this case.

       The U.S. Attorney may, at his sole option, be released from his commitments under this
Plea Agreement, including, but not limited to, his agreement that Paragraph 5 constitutes the
appropriate disposition of this case, if at any time between Defendant’s execution of this Plea
Agreement and sentencing, Defendant:

               (a)      Fails to admit a complete factual basis for the plea;

               (b)      Fails to truthfully admit Defendant’s conduct in the offenses of conviction;

               (c)      Does not fully accept responsibility for having engaged in the conduct
                        underlying each of the elements of the crime to which he is pleading
                        guilty;

               (d)      Fails to provide truthful information about Defendant’s financial status;

               (e)      Gives false or misleading testimony in any proceeding relating to any of
                        the elements of the crime to which he is pleading guilty;

               (f)      Engages in acts that form a basis for finding that Defendant has obstructed
                        or impeded the administration of justice under USSG § 3C1.1;


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              (g)     Intentionally fails to appear in Court or violates any condition of release;

              (h)     Commits a crime;

              (i)     Transfers any asset protected under any provision of this Plea Agreement;
                      or

              (j)     Attempts to withdraw Defendant’s guilty plea.

       Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the
Court and the U.S. Probation Office with accurate and complete information regarding this case.

       5.     Agreed Disposition

       Pursuant to Fed. R. Crim. P. 11(c)(1)(C), the U.S. Attorney and Defendant agree that the
following is a reasonable and appropriate disposition of this case:

              (a)     incarceration for a period of 5 months to begin no earlier than 90 days
                      after imposition of final judgment;
              (b)     a fine of $250,000;

              (c)     24 months of supervised release, with 250 hours of community service
                      imposed as a condition of supervised release;

              (d)     a mandatory special assessment of $100, which Defendant must pay to the
                      Clerk of the Court on or before the date of sentencing (unless Defendant
                      establishes to the Court’s satisfaction that Defendant is unable to do so);
                      and
              (e)     forfeiture as set forth in Paragraph 8.

       6.     Waiver of Right to Appeal and to Bring Future Challenge

              (a)     Defendant has conferred with his attorney and understands that he has the
                      right to challenge his conviction in the United States Court of Appeals for
                      the First Circuit (“direct appeal”). Defendant also understands that, in
                      some circumstances, Defendant may be able to challenge his conviction in
                      a future proceeding (collateral or otherwise), such as pursuant to a motion
                      under 28 U.S.C. § 2255 or 28 U.S.C. § 2241. Defendant waives any right
                      to challenge Defendant’s conviction on direct appeal or in any future
                      proceeding (collateral or otherwise).

              (b)     Defendant has conferred with his attorney and understands that defendants
                      ordinarily have a right to challenge in a direct appeal their sentences
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                      (including any orders relating to the terms and conditions of supervised
                      release, fines, forfeiture, and restitution) and may sometimes challenge
                      their sentences (including any orders relating to the terms and conditions
                      of supervised release, fines, forfeiture, and restitution) in a future
                      proceeding (collateral or otherwise). The rights that are ordinarily
                      available to a defendant are limited when a defendant enters into a Rule
                      11(c)(1)(C) agreement. In this case, Defendant waives any rights
                      Defendant may have to challenge the agreed-upon sentence (including any
                      agreement relating to the terms and conditions of supervised release, fines,
                      forfeiture, and restitution) on direct appeal and in a future proceeding
                      (collateral or otherwise), such as pursuant to 28 U.S.C. § 2255 and 28
                      U.S.C. § 2241. Defendant also waives any right Defendant may have
                      under 18 U.S.C. § 3582(c)(2) to ask the Court to modify the sentence,
                      even if the USSG are later amended in a way that appears favorable to
                      Defendant. Likewise, Defendant agrees not to seek to be resentenced with
                      the benefit of any change to Defendant’s Criminal History Category that
                      existed at the time of Defendant’s original sentencing. Defendant also
                      agrees not to challenge the sentence in an appeal or future proceeding
                      (collateral or otherwise) even if the Court rejects one or more positions
                      advocated by any party at sentencing. In sum, Defendant understands and
                      agrees that in entering into this Plea Agreement, the parties intend that
                      Defendant will receive the benefits of the Plea Agreement and that the
                      sentence will be final.

               (c)    The U.S. Attorney agrees that he will not appeal the imposition by the
                      Court of the sentence agreed to by the parties as set out in Paragraph 5,
                      even if the Court rejects one or more positions advocated by either party at
                      sentencing.

               (d)    Regardless of the previous subparagraphs, Defendant reserves the right to
                      claim that: (i) Defendant’s lawyer rendered ineffective assistance of
                      counsel under Strickland v. Washington; or (ii) the prosecutor in this case
                      engaged in misconduct that entitles Defendant to relief from Defendant’s
                      conviction or sentence.

       7.      Waiver of Hyde Amendment Claim

         Defendant is aware that 111 Stat. 2440, 2520 (1997), the so-called “Hyde Amendment,”
authorizes courts in criminal cases to award to certain prevailing defendants attorneys’ fees and
other litigation expenses. In exchange for concessions the U.S. Attorney made in this Plea
Agreement, Defendant voluntarily and knowingly waives any claim Defendant might assert
under this statute based in whole or in part on the U.S. Attorney’s agreement in Paragraph 1 to
dismiss Counts Two and Three.


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       8.      Forfeiture

       Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local
law enforcement agency and turned over to the United States, during the investigation and
prosecution of this case, and consents to the forfeiture of all such assets.

       9.      Information For Presentence Report

       Defendant agrees to provide all information requested by the U.S. Probation Office
concerning Defendant’s assets.

       10.     Civil Liability

         By entering into this Plea Agreement, the U.S. Attorney does not compromise any civil
liability, including but not limited to any tax liability, Defendant may have incurred or may incur
as a result of Defendant’s conduct and plea of guilty to the charges specified in Paragraph 1 of
this Plea Agreement.

       11.     Withdrawal of Plea by Defendant or Rejection of Plea by Court

         Should Defendant move to withdraw his guilty plea at any time, or should the Court
reject the parties’ agreed-upon disposition of the case or any other aspect of this Plea Agreement,
this Plea Agreement shall be null and void at the option of the U.S. Attorney. In this event,
Defendant agrees to waive any defenses based upon the statute of limitations, the constitutional
protection against pre-indictment delay, and the Speedy Trial Act with respect to any and all
charges that could have been timely brought or pursued as of the date of this Plea Agreement.

       12.     Breach of Plea Agreement

        If the U.S. Attorney determines that Defendant has failed to comply with any provision of
this Plea Agreement, has engaged in any of the activities set forth in Paragraph 4(a)-(j), has
violated any condition of Defendant’s pretrial release, or has committed any crime between
Defendant’s execution of this Plea Agreement and sentencing, the U.S. Attorney may, at his sole
option, be released from his commitments under this Plea Agreement in their entirety by
notifying Defendant, through counsel or otherwise, in writing. The U.S. Attorney may also
pursue all remedies available to him under the law, regardless whether he elects to be released
from his commitments under this Plea Agreement. Further, the U.S. Attorney may pursue any
and all charges which otherwise may have been brought against Defendant and/or have been, or
are to be, dismissed pursuant to this Plea Agreement. Defendant recognizes that his breach of
any obligation under this Plea Agreement shall not give rise to grounds for withdrawal of
Defendant’s guilty plea, but will give the U.S. Attorney the right to use against Defendant before
any grand jury, at any trial or hearing, or for sentencing purposes, any statements made by
Defendant and any information, materials, documents or objects provided by Defendant to the
government, without any limitation, regardless of any prior agreements or understandings,
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